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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )         Docket No. 4:08CR3031
           v.                        )
                                     )
AMY MCNALLY,                         )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion to continue hearing, filing 35, is
granted and the change of plea hearing is continued to
April 16, 2009 at 1:30 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     Defendant shall appear at the hearing.

     DATED: July 15, 2008.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
